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                                                             Asset Cases
Case No.:    19-07235                                                                           Trustee Name:      (620290) Jeanne Ann Burton
Case Name:         CUMMINGS MANOOKIAN, PLLC                                                     Date Filed (f) or Converted (c): 11/06/2019 (f)
                                                                                                § 341(a) Meeting Date:       12/02/2019
For Period Ending:         03/31/2023                                                           Claims Bar Date:      04/01/2020

                                       1                                  2                    3                      4                    5                   6

                           Asset Description                           Petition/       Estimated Net Value     Property Formally     Sale/Funds           Asset Fully
                (Scheduled And Unscheduled (u) Property)             Unscheduled      (Value Determined By        Abandoned        Received by the     Administered (FA)/
                                                                        Values               Trustee,             OA=§554(a)           Estate           Gross Value of
                                                                                     Less Liens, Exemptions,       abandon.                            Remaining Assets
  Ref. #                                                                                and Other Costs)

   1*       Accounts Receivable (See Footnote)                          70,000.00                       0.00                                   0.00                         FA

    2       Office Equipment/ Furn (Debtor does not                           0.00                      0.00                                   0.00                         FA
            own any)

   3*       Costs due in various cases                                   Unknown                        0.00                                   0.00                         FA
            There are cases where costs have been advanced in
            lawsuits contingent upon cases being successfully
            resolved but are presently unrealized due to the cases
            being pending without resolution. (See Footnote)

    4       A/R Case BaHC                                                     0.00                 11,680.64                              11,680.64                         FA
            Potential Attorney Fees/Costs for confidential case

   5*       A/R Case BaHu                                                     0.00                      0.00                                   0.00                         FA
            Potential Attorney Fees/Costs for confidential case
            (See Footnote)

   6*       A/R Case BeLb                                                     0.00                      1.00                                   0.00                         FA
            Potential Attorney Fees/Costs for confidential case
            (See Footnote)

   7*       A/R Case BrRe                                                     0.00                      1.00                                   0.00                         FA
            Potential Attorney Fees/Costs for confidential case
            (See Footnote)

   8*       A/R Case DyVa                                                     0.00                      0.00                                   0.00                         FA
            Potential Attorney Fees/Costs for confidential case
            (See Footnote)

    9       A/R Case KnRi                                                     0.00                 19,286.13                              19,286.13                         FA
            Potential Attorney Fees/Costs for confidential case

  10*       A/R Case MiVa                                                     0.00                      1.00                                   0.00                    1.00
            Potential Attorney Fees/Costs for confidential case
            (See Footnote)

   11       A/R Case RuAr                                                     0.00                 28,884.58                              28,884.58                         FA
            Potential Attorney Fees/Costs for confidential case

  12*       A/R Case SaRo                                                     0.00                      0.00                                   0.00                         FA
            Potential Attorney Fees/Costs for confidential case
            (See Footnote)

  13*       A/R Case ShVa                                                     0.00                      1.00                                   0.00                    1.00
            Potential Attorney Fees/Costs for confidential case
            (See Footnote)

   14       A/R Case ThSi - Preference DE 56 (u)                              0.00                 23,637.22                              23,637.22                         FA
            03/11/20-Agreed Order for turnover - docket #56

   15       A/R Case WaMo                                                     0.00                      1.00                               9,695.85                         FA
            Potential Attorney Fees/Costs for confidential case

  16*       A/R Case WhPa                                                     0.00                      0.00                                   0.00                         FA
            Potential Attorney Fees/Costs for confidential case
            (See Footnote)



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                                                             Asset Cases
Case No.:    19-07235                                                                         Trustee Name:      (620290) Jeanne Ann Burton
Case Name:         CUMMINGS MANOOKIAN, PLLC                                                   Date Filed (f) or Converted (c): 11/06/2019 (f)
                                                                                              § 341(a) Meeting Date:       12/02/2019
For Period Ending:         03/31/2023                                                         Claims Bar Date:      04/01/2020

                                       1                                2                    3                      4                   5                    6

                           Asset Description                        Petition/        Estimated Net Value     Property Formally     Sale/Funds           Asset Fully
                (Scheduled And Unscheduled (u) Property)          Unscheduled       (Value Determined By        Abandoned        Received by the     Administered (FA)/
                                                                     Values                Trustee,             OA=§554(a)           Estate           Gross Value of
                                                                                   Less Liens, Exemptions,       abandon.                            Remaining Assets
  Ref. #                                                                              and Other Costs)

  17*       A/R Case WoMi                                                   0.00                      0.00                                   0.00                         FA
            Potential Attorney Fees/Costs for confidential case
            (See Footnote)

  18*       A/R Case FiOs Adversary 320:ap-90002                   1,400,000.00             1,400,000.00                                     0.00          1,400,000.00
            Disputed Attorney Fees/Costs for confidential case
            (See Footnote)

   19       A/R Case West MDL Settlement (u)                            3,739.85                 3,739.85                               3,739.85                          FA
            Fees/Costs for confidential casse


  19        Assets Totals (Excluding unknown values)              $1,473,739.85            $1,487,233.42                             $96,924.27          $1,400,002.00


        RE PROP# 1             See itemized individual receivable assets

        RE PROP# 3             Each cost is part of the individually itemized receivable case assets

        RE PROP# 5             CM will not receive fees in this case.

        RE PROP# 6             Action is pending but not yet resolved. Accordingly, Trustee has shown a value of $1.00 to indicate the asset is being
                               administered. CM will not receive fees in this case.
        RE PROP# 7             Action is pending but not yet resolved. Accordingly, Trustee has shown a value of $1.00 to indicate the asset is being
                               administered. CM will not receive fees in this case.
        RE PROP# 8             CM will not receive fees in this case.

        RE PROP# 10            Action was settled. Settlement amount is confidential and Trustee does not yet know amount of settlement. The amount of
                               attorney fees to which Debtor is entitled has not yet been determined. Adversary proceeding 320-ap-90002 seeks to
                               determine amount due to Debtor and is pending but not yet resolved. Accordingly, Trustee has shown a value of $1.00 to
                               indicate the asset is being administered.
        RE PROP# 12            CM will not receive fees in this case.

        RE PROP# 13            Action was settled. Settlement amount is confidential and Trustee does not yet know amount of settlement. The amount of
                               attorney fees to which Debtor is entitled has not yet been determined. Adversary proceeding 320-ap-90002 seeks to
                               determine amount due to Debtor and is pending but not yet resolved. Accordingly, Trustee has shown a value of $1.00 to
                               indicate the asset is being administered.
        RE PROP# 16            CM will not receive fees in this case.

        RE PROP# 17            CM will not receive fees in this case.

        RE PROP# 18            Case settled. Adversary 320-ap-90002 pending re dispute as to entittlement of fees. $715,000.00 of the fees ordered in
                               escrow with Court.




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                                                     Asset Cases
Case No.:   19-07235                                                        Trustee Name:      (620290) Jeanne Ann Burton
Case Name:     CUMMINGS MANOOKIAN, PLLC                                     Date Filed (f) or Converted (c): 11/06/2019 (f)
                                                                            § 341(a) Meeting Date:    12/02/2019
For Period Ending:     03/31/2023                                           Claims Bar Date:     04/01/2020


Major Activities Affecting Case Closing:

                         schedules are at DE 1,7,9 and 10
                         11/18/19-motion to employ P. Young filed
                         12/02/19- documents requested at the moc
                         12/03/19 e-mail to J. Lefkovitz re bank statements and credit card statements and documents requested at
                         moc
                         12/09/19-objection to motion to employ P. Young filed; hearing is 12/17/19
                         12/10/19 attend hearing on TRO against Hagh Law in Lawrenceburg
                         12/11/19 review proposed TRO order
                         12/11/19 discuss witness and exhibit list with P. Young for motion to employ special counsel
                         12/13/19 t/c John Konvilinka re appeal-his name was given to me by debtor's counsel;e-mail to debtor's
                         counsel re supplying info
                         12/13/19 t/c Charles Malone at Butler Snow re appeal-he represents the appellees
                         12/17/19 hearing on Motion to employ special counsel- court took matter under advisement
                         12/20/19-order re: TE app to employ special counsel gives the TE until 12/24/19 to file supp. app and more
                         info
                         12/21/19-supplement to app. of TE to employ special counsel filed
                         12/23/19-order granting application to employ Thompson Burton PLLC entered
                         12/23/19-B. Manookian filed request for leave to respond in opposition and objection to app. to employ
                         Thompson Burton PLLC
                         12/23/19-prep of suggestion of bk in Ct. of Appeals
                         12/26/19-order denying B. Manookian request for leave to respond entered
                         01/02/20-prep of suggestion of bk in Circuit Ct (mail)
                         01/02/20-send demand letter to A. Hagh (to d/m case against Debtor)-reg and cert. mail
                         01/02/20-file asset notice; last day to file claims is 4/1/2020
                         01/03/20- review order from COA re oral arguument
                         01/08/20-adversary complaint filed
                         01/08/20-expedited motion/order for turnover of funds filed
                         01/09/2020-order setting hearing on motion for turnover of funds entered, deadline to object to the relief is
                         1/14/2020 at 4pm; hearing is scheduled for 1/15/2020 at 1:30pm
                         01/14/20-objection to expedited motion for turnover filed
                         01/14/20-NOA filed by John Spragens-attorney for Hagh Law
                         01/14/20-Plaintiff's reply to objection of Hagh Law PLLC filed
                         01/15/20-Hagh Law filed motion to strike Plaintiff's reply to objection
                         01/15/20-summons and notice of pretrial -pretrial is 3/10/20
                         01/15/20 attend hearing on motion for turnover of funds
                         01/16/20-order entered for turnover of funds-funds to be deposited with Bk Court Clerk by 11:59 pm 1/21/20;
                         final hearing will be 2/5/20
                         01/17/20 review order re turnover of funds and setting final hearing
                         01/28/20-review poc filed by Grant Konvlinka-based on default judgment
                         01/28/20-motion to compel turnover of records filed; hearing is 2/11/20 (responses due by 2/7/20)
                         01/31/20-prep and file motion for sanctions for violation of automatic stay-Hagh Law/Afsoon Hagh
                         01/31/20-review NOA filed by Craig Gabbert (had returned earlier phone call)
                         02/03/20 -phone call with C. Gabbert, atty for Ms. Hagh and Hagh Law
                         02/03/20-hearing on motion for turnover of records rescheduled to 2/18/20
                         02/03/20-hearing on motion for sanctions is 2/18/20
                         02/06/20-order on expedited motion for turnover of funds submitted (Clerk to continue to hold the $715,000)
                         02/07/20-response to motion to compel filed by B. Mannokian and S. Lefkovitz
                         02/07/20-proposed a/o submitted re: complaint in Circuit Court dismissed and motion for sanctions is moot
                         02/11/20-hearing on motion to compel turnover of records continued to 3/3/20
                         02/24/20-motion for entry of default against defendants in adversary was filed
                         02/24/20-entry of default entered in the adversary
                         03/03/20-hearing on motion to compel continued to March 24, 2020
                         03/03/20-motion to continue pretrial conference in adversary to March 24, 2020 filed
                         03/04/20 consult with L. Williams re any requirement to file 2019 return-no requirement
                         03/10/20-agreed order for turnover of monies held by Receiver filed
            Case     3:19-bk-07235
                         03/13/20-prep ofDocmotion172      Filed
                                                    to employ      04/21/23 Entered 04/21/23 10:48:46 Desc Main
                                                               Accountant
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                                                     Asset Cases
Case No.:   19-07235                                                        Trustee Name:      (620290) Jeanne Ann Burton
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For Period Ending:     03/31/2023                                           Claims Bar Date:     04/01/2020

                         03/16/20 answers filed in adv proceeding; entry of default will be withdrawn
                         03/17/20 hearing on motion for turnover will be continued to 4/21/20; pretrial continued also
                         04/01/20 e-mail to D. Puryear re order for turnover of funds
                         04/07/20-file order to employ Accountant-had wrong effective date on it
                         04/07/20-filed amended order to employ Accountant
                         04/14/20-motion to continue hearing on motion to compel and adversary pretrial conference filed
                         04/15/20-order continuing hearings to May 19 at 10:15 am entered
                         04/25/20-motion to approve fee/expense division filed
                         05/15/20-motion to continue hearing on turnover of records and motion to continue pretrial in adv. filed
                         05/18/20-order to continue hearing on turnover and pretrial to June 30, 2020 entered
                         0518/20-objection to motion to approve fee and expense division filed; hearing is scheduled for 5/26/20 at 10
                         am
                         05/22/20-motion to cont. hearing on motion to approve fee/expense division filed; expedited order submitted
                         05/26/20-order to cont. hearing on motion to approve fee/expense division entered-hearing will be 6/9/20
                         06/09/20-order approving fee and expense division among Debtor and Cummings Law filed
                         06/29/20-motion and expedited order to continue hearing on motion to compel turnover filed
                         06/29/20-order to continue hearing entered; hearing is 8/18/20 at 10:15 am (Telephonic)
                         08/17/20-joint pretrial statement filed in adv. 20-90002
                         08/19/20-adv pretrial has been continued to 1/12/2021 at 10:15 am
                         08/19/20-order compelling turnover of documents entered
                         09/03/20-review e-mail and phone call with P. Young re document production
                         09/28/20- follow up with P. Young re documents and written discovery
                         10/30/20-prep of notice of status of bk case to be filed in Ct. of Appeals
                         11/09/20-e-mail to P. Young re written discovery
                         11/23/20 review draft of written discovery
                         12/16/20 review e-mail from P. Young responding to requests for additional time to respond to written
                         discovery
                         01/12/21 pretrial conference has been continued for 90 days; written discovery is outstanding
                         02/01/21 review discovery responses and requests; t/c P. Young
                         02/24/21-pretrial conference rescheduled for 4/16/21
                         02/25/21 responses for request for admissions sent to Mr. Spragens
                         03/02/21-email and mailed to P. Young- plaintiff's responses to first and second set of written discovery
                         03/03/21-motion for stay of all discovery; hearing is 4/7/21 at 11am
                         03/12/21-prep of letter to BK Clerk for certified copies
                         03/17/21-t/c S. Lefkovitz re funds collected in state court receivership
                         03/28/21- response to motion to stay filed
                         04/02/21- discuss tax filing requirements with L.Williams
                         04/02/21- t/c P. Young re upcoming hearing on motion to stay discovery in adversary proceeding
                         04/07/21-motion to stay discovery is granted in part; discovery is stayed at least through 5/26/21. Hearing set
                         for 5/26/21
                         04/07/21-pretrial conference continued to 5/26/21
                         05/18/21-prep of motions to disallow claim 3, 4, and 6
                         05/18/21-claim 1 was withdrawn
                         05/19/21-review draft settlement agreement re claim 5; e-mail proposed changes to P. Young
                         05/26/21-order further staying discovery and continuing pretrial to July 21, 21 filed
                         06/14/21 t/c P. Young to discuss claim 6( R. McCarthy) and discussions with atty re claim 3;discuss
                         attorney's liens
                         06/17/21-response to objection to claim # 3 and #4 filed by Phillip North; hearing will be held 6/25/21 at 11
                         am.
                         06/21/21-t/c P. Young to discuss objection filed by P. North and other case matters
                         06/22/21-motion to continue hearing on TE objection to claims 3 and 4 to on or after July 15, 2021 filed by P.
                         Young
                         06/24/21-hearing on objection to claims 3 and 4 reset to July 21, 2021
                         06/29/21-notice of extension of time to respond to objection to claim 6 (extended to 7/19/21)
                         07/06/21-motion for comp/settle filed re: claim 5
                         07/13/21-review draft of settlement agreement (McCarthy) and discuss same with P. Young. Review email
                         from C. Gabbert re: Chase settlement and discuss with P. Young
                         07/19/21t/c P. Young re claim objections/settlements and upcoming hearing on discovery and ptc in
            Case     3:19-bk-07235        Doc
                         adversary; discuss       172
                                              other      Filed 04/21/23 Entered 04/21/23 10:48:46 Desc Main
                                                    case matters
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                                                     Asset Cases
Case No.:   19-07235                                                       Trustee Name:      (620290) Jeanne Ann Burton
Case Name:     CUMMINGS MANOOKIAN, PLLC                                    Date Filed (f) or Converted (c): 11/06/2019 (f)
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For Period Ending:     03/31/2023                                          Claims Bar Date:     04/01/2020

                         07/19/21-a/o resolving TE objection to claim 3 & 4 filed
                         07/20/21-a/o resolving TE objection to claim 6 filed
                         07/20/21-emergency motion to continue pretrial in adv. filed; a/o entered; pretrial will be continued until
                         8/11/21 at 11am
                         07/27/21 review status report request from state supreme court
                         07/27/21-objection to motion for comp/settle filed by J. Spragens for Manookian PLLC and B. Manookian;
                         hearing is 8/11/21 at 11am;objection also filed by creditor Konvilenka
                         07/28/21 review charging order re state court action(Phillip North)
                         07/29/21 file notice of status of bk case with TN Supreme Court
                         08/04/21 orders regarding claims 3, 4 and 6 entered.
                         08/09/21-hearing on objections to motion for comp/settle continued until 9/17/21 at 11 am.
                         08/09/21-pretrial in Adversary continued until 9/17/21 at 11 am.
                         09/01/21-t/c P. Young re upcoming hearing on objections to motion for comp and settle
                         09/13/21-review drafts of responses to objections to motion for comp and settle; t/c P. Young to discuss;
                         review final drafts
                         09/14/21-TE response to objection of Grant, Konvalinka & Harrison, PC to motion for comp/settle filed
                         09/14/21-TE response to B. Manookain objection to proposed Chase claim and settlement filed
                         09/15/21-TE exhibit and witness list for hearing on TE motion for comp and settle filed
                         09/15/21-B. Manookian's exhibit and witness list for TE motion for comp/settle filed
                         09/17/21-hearing continued to 9/29/21 at 1pm
                         09/23/21- review and discuss motion to approve participation of P. Young at 9/29/hearing and motion re
                         standing
                         09/24/21-motion to strike B. Manookian's objection and to preclude his participation in the 9/29/21 hearing
                         09/24/21 review order re hearing entered by Judge Walker
                         09/24/21 review revised proffer re Trustee testimony
                         09/27/21-response to TE motion to strike B. Manookian's objection
                         09/29/21- attend hearing on Trustee's motion to approve comp and settle; objections thereto and motion re
                         standing of B. Manookian
                         09/30/21-review proposed order re Sept 29 hearing
                         10/01/21-order granting motion for comp/settle and finding B. Manookian lacks standing entered
                         10/05/21-review e-mails and order re state court proceeding in Chase v Stewart;Debtor not party to that
                         action
                         10/14/21-notice of appeal and statement of election to District Court filed by J. Spragens
                         10/20/21-review response to motion/order setting ptc; review e-mail from P. Young re ptc
                         10/28/21-statement of issues on appeal filed by J. Spragens;discuss this and other case matters w/P. Young
                         11/02/21-review meet and confer letters re discovery after discussing with P. Young
                         11/04/21-t/c P. Young re case matters
                         11/22/21-prepare and send letter to state court clerk as requested re contact information and upcoming
                         hearing
                         12/17/21-t/c P. Young re discovery requests from Hagh Law; letter re atty fee lien in ShVa( Asset #13)case
                         from C. Gabbert; motions to compel discovery and appeals brief
                         12/20/20- review final draft of appellee brief in appeal by B. Mannokian
                         12/20/21-motion to compel discovery from Manookian, PLLC , Hagh Law, PLLC and Afsoon Hagh filed
                         12/22/21-hearing on motion to compel is 1/5/22 at 11am
                         12/23/21-a/o to continue hearing to 2/2/22 filed
                         01/03/22-t/c P. Young re subpoenas and a/r matters (ShVa( Asset #13)case)
                         01/07/22-review response to subpoena (privilege log);e-mail P. Young re same
                         01/14/22- t/c P. Young re McCarthy subpoena response and other subpoena matters; other discovery issues;
                         discuss appeal of comp and settle;discuss ShVa( Asset #13)case fee issues
                         01/18/22-review state court order re sealed documents and granting motion for stay pending outcome of the
                         appeal of the settlement with creditor Chase
                         01/18/22 review e-mail re fee matters in ShVa( Asset #13)case
                         01/19/22-Manookian PLLC motion to compel responses to interogs filed; hearing is 2/16/22
                         01/24/22-1/27/22 review, discuss and revise discovery responses to Hagh Law in adversary proceeding
                         01/27/22 final review of attachments to production of documents;e-mail P. Young re same
                         01/28/22-discuss proposed protective order with P. Young
                         01/31/22-review motion to compel to Mr. Fitzgerald re subpoena; t/c P. Young upon receipt of e-mail from C.
                         Gabbert re protective order and discovery
            Case     3:19-bk-07235
                         01/31/22-hearingDoc     172 to compel
                                             on motion     Filed 04/21/23         Entered
                                                                  Fitzgerald is 2/16/22;     04/21/23
                                                                                         hearing on motion10:48:46        Desc to
                                                                                                           to compel continued   Main
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                                                     Asset Cases
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                         2/16/22; pretrial hearing continued to 2/16/22
                         02/02/22-protective order entered
                         02/09/22-TE response to Manookian PLLC motion to compel filed
                         02/14/22-revised protective order entered
                         02/16/22-submitted order continuing hearings and pretrial conference filed; hearings rescheduled for 3/17/22
                         03/02/22-t/c P. Young re discovery issues, review e-mails from C. Gabbert and J. Spragens
                         03/07/22-District ct order entered vacating bk court order re legal standard applied re standing in Chase
                         settlement matter
                         03/09/22- review protective order (with Manookian PLLC)
                         03/10-3/11/22-review amended discovery responses after discussion with P. Young; e-mails to P. Young re
                         same
                         03/13/22-review e-mails to J. Spragens and C. Gabbert re amended discovery responses
                         03/15/22-review state court order denying Hammervold motion for summary judgment re Chase party
                         matters; judge's order says he needs to hear all facts from live witnesses
                         03/15/22-prehearing status report filed re: 3/17/22 hearing
                         03/17/22- attend hearing on motions to compel
                         03/18/22- copy of cd of hearing requested
                         03/22/22- discuss complaint filed by B. Cummings with P. Young
                         03/25/22-notice regarding motions to compel order filed; submitted expedited order to compel discovery
                         responses
                         03/28/22- order regarding discovery entered
                         04/4/22-4/19/22 review State of Tennessee Dept of Revenue notice of levy to Metropolitan Bank; T/C L.
                         Williams, accountant re state notice of levy; send copy of bk notice to L. Williams who provided to collection
                         agent; awaiting response; subsequent t/c and e-mails with L. McCloud and B. McCormick, Senior Assistant
                         Attorney Generals, Bankruptcy Division to have the lien released before the levy date and to avoid motion to
                         quash and for sanctions; levy was released before deadline for bank to send funds to the Dept of Revenue ;
                         Department of Revenue has filed a proof of claim
                         04/11/22-expedited motion to schedule pretrial conference on or before 4/15/2022and to continue depositions
                         filed
                         04/14/22-order re: discovery matters and denying expedited motion for pretrial conference and cont. of
                         depositions
                         04/20/22-4/21/22- Defendants' depositions of Trustee and P. Young
                         04/25/22-review notices of deposition for B. Manookian and A. Hagh; make notes; e-mail to P. Young ;t/c P.
                         Young re changes to notice of deposition and discuss other case matters; review changes and reply to P.
                         Young
                         04/29/22-agreed order rescheduling deposition of A. Hagh and Hagh Law, PLLC
                         05/05/22-notice of depo of R. McCarthy, B. Cummings and M. Fitzgerald
                         05/05/22-motion to recuse Judge Walker filed by J. Spragens; order scheduling response date 5/27/22 and
                         hearing 6/29/22 at 1pm
                         05/10/22-Trustee attended deposition of B. Manookian
                         05/18/22-Trustee attended deposition of A. Hagh
                         05/19/22-motion to continue depositions and reset deadlines filed; order submitted filed by C. Gabbert
                         05/25/22-expedited motion to set telephonic hearing on motion to continue depositions filed by C. Gabbert
                         05/25/22-expedited order on motion to set telephonic hearing at 1pm 5/25/22
                         05/27/22-response to Manookians's motion to disqualify Bankruptcy Judge filed by C. Gabbert
                         05/27/22-Plaintiff's response to Manookian motion to disqualify Bankruptcy Judge filed
                         05/31/22-notice of deposition of Judge Walker filed by J. Spragens
                         06/01/22-order quashing deposition of Judge Walker entered
                         06/02/22-revised notice of deposition of Ronette McCarthy filed
                         06/03/22-revised notice of deposition of Brian Cummings filed
                         06/06/22-amended notice of deposition of Marty Fitzgerald filed
                         06/14/22-B. Manookian filed notice of appeal (in District Court)and statement of election re: order quashing
                         notice of deposition of Judge Walker (DE 178)
                         06/20/22-TC P. Young re Fitzgerald subpoena; review e-mail to J. Spragens re same
                         06/21/22 review reply from J. Spragens;discuss with P. Young
                         06/22/22-review e-mail from P. Young to J. Spragens re cancellation of deposition upon Fitzgerald objection
                         communicated by J. Spragens
                         06/24/22-motion for summary judgment and memorandum filed by J. Spragens
            Case     3:19-bk-07235         Doc re
                         06/27/22-t/c P. Young   172     Filed
                                                    upcoming     04/21/23
                                                              hearing, discoveryEntered
                                                                                 matters and04/21/23
                                                                                               MJS       10:48:46 Desc Main
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                                                     Asset Cases
Case No.:   19-07235                                                         Trustee Name:      (620290) Jeanne Ann Burton
Case Name:     CUMMINGS MANOOKIAN, PLLC                                      Date Filed (f) or Converted (c): 11/06/2019 (f)
                                                                             § 341(a) Meeting Date:    12/02/2019
For Period Ending:     03/31/2023                                            Claims Bar Date:     04/01/2020

                           06/28/22-expedited motion/order setting status conference; pretrial conference is 7/13/22 at 11am
                           06/29/22-appellants statement of issues on appeal and designation of record filed by J. Spragens
                           06/30/22-notice re: dep of M. Fitzgerald filed
                           06/30/22-withdraw motion for status conference
                           07/18/22-review defendants' motion re summary judgment and response
                           07/22/22- motion to compel deposition and motion to stay deadline filed; response filed on 7/28/22 by J.
                           Spragens; Plaintiff filed response on 7/28/22
                           07/25/22-order denying mfsj by defendants entered
                           08/04/22- t/c P. Young to discuss case matters and appeals
                           08/31/22-review draft of Trustee's brief in appeal to District Court of Judge Walker's order to quash subpoena
                           for his deposition; discuss proposed changes with P. Young.
                           09/06/22 appeal brief has been filed
                           10/18/22 review state court order of settlement between Chase Parties and M. Hammervold; review 2
                           subpoenas issued by B. Manookian to M. Hammervold re same
                           10/31/22- review Chase and Mr. Manookian's status updates to state court re staus of bk court proceeding
                           11/01/22- appeal of order quashing notice of deposition of Judge Walker still pending
                           12/01/22- appeal still pending
                           01/19/23-appeal still pending-review reply e-mail from L. Williams re no tax return required to be filed for 22
                           02/07/23-t/c P. Young re status of pending matters
                           02/12/23-review district court order denying appeal re subpoena
                           03/08/23-t/c P. Young re case matters and appeal deadline; discuss district court order regarding Cummings
                           lawsuit being transferred to Bankruptcy Court
                           03/10/23-Court has set hearing on motion to disqualify judge for March 28, 2023
                           03/14/23 t/c P. Young to discuss upcoming hearing-in person on 3/28/23; Cummings lawsuit has been
                           transferred and the complaint has been filed.
                           03/28/23-hearing on motion to disqualify judge continued to 4/4/23 at 8am.
                           04/04/23- attend hearing on motion to disqualify judge; motion was denied; Judge Walker to set hearing on
                           adversary matters
                           04/11/23 -Trustee's motion to continue hearing set for 5/25/23 filed; motion to schedule ptc filed
                           4/19/23- Notice of Appeal filed by defendants -order denying motion to recuse judge




Initial Projected Date Of Final Report (TFR): 12/31/2020             Current Projected Date Of Final Report (TFR):   03/31/2024




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